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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




United States of America                                 Criminal #: 08-09-10 (KSH)


               v.
                                                                 ORDER

Michelle Davis




               This matter having come before the Court on the government’s motion concerning

jury instructions (D.E. 112) and the defendant’s motion to server (D.E. 81); and good cause

appearing and for the reasons set forth on the record on October 14, 2008,

               It is on this 16th day of October, 2008

               ORDERED that the motion to sever is dismissed as moot because a superseding

indictment has been filed against defendant; and it is further

               ORDERED that the motion to instruct the jury on willful blindness is denied as

premature and may be renewed on the record at the close of evidence.

                                                         /s/ Katharine S. Hayden

                                                 ______________________________________

                                                         Katharine S. Hayden, U.S.D.J.
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                                        KATHARINE S. HAYDEN, U.S.D.J.
